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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 SUZANNE E. JONES,

                 Plaintiff,
                                                            PLAINTIFF’S OPPOSITION TO
         v.                                                  INDIVIDUAL DEFENDANTS’
                                                          SUPPLEMENT TO MOTION TO STAY
 H. NEIL MATKIN, in his personal and                         AND/OR LIMIT DISCOVERY
 official capacity; TONI JENKINS, in her
 personal and official capacity; and COLLIN
                                                              Civil Action No.: 4:21-cv-733-ALM
 COLLEGE,

                  Defendants.


        Plaintiff Suzanne Jones submits this Response to the Supplement to Motion to Stay

and/or Limit Discovery filed by Defendants H. Neil Matkin and Toni Jenkins in their individual

capacities (“Individual Defendants”).1 (Dkt. #28, Defs.’ Suppl. Mot. to Stay and/or Limit Disc.).

        Individual Defendants filed a pre-discovery Motion for Summary Judgment on Qualified

Immunity (Dkt. #9), along with a Motion to Stay and/or Limit Discovery (Dkt. #8). In opposition

to the Motion to Stay and/or Limit Discovery, Jones relied upon Lion Boulos v. Wilson, 834 F.2d

504 (5th Cir. 1987) and Federal Rule of Civil Procedure 56(d) to request that this Court permit

discovery against: (1) Defendants Collin College and Defendants Matkin and Jenkins in their

official capacities with no limitations and (2) the Individual Defendants concerning their reason

for terminating Jones. (Dkt. 19, Pl.’s Opp’n to Individual Def.’s Mot. to Stay and/or Limit Disc.

11).


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      Plaintiff notes that neither the Federal Rules of Civil Procedure nor the Local Rules of this District
permit parties to file “Supplements” to fully briefed motions. Although there is no procedure for
submitting a notice of supplemental authority in district court, their submission, at approximately 658
words, is well over the 350 words prescribed by Federal Rule of Appellate Procedure 28(j). Thus,
Plaintiff will treat Defendants’ submission as a supplemental brief and will respond in kind.


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          Now, in their supplemental brief, Individual Defendants call this Court’s attention to

Carswell v. Camp, in which a panel of the Fifth Circuit purported to overrule Lion Boulos and

the “careful procedure” permitting “a district court to ‘defer its qualified immunity ruling if

further factual development is necessary to ascertain the availability of that defense’” 37 F.4th

1062, 1066 (5th Cir. 2022) (citation omitted). Individual Defendants argue that Carswell requires

the Court to stay all discovery until the issue of qualified immunity is resolved. Jones disagrees.

          Defendants’ reliance on Carswell is misplaced. First, Carswell’s holding is premised on

the Defendants’ having moved to dismiss under 12(b)(6) on the basis of qualified immunity. As

the Carswell panel summarized, the Supreme Court’s decision in Ashcroft v. Iqbal, 555 U.S. 662

(2009),

          squarely repudiated our “careful procedure” for allowing tailored discovery before
          a district court rules on an official’s motion to dismiss. When defendants assert
          qualified immunity in a motion to dismiss, the district court may not defer ruling
          on that assertion. It may not permit discovery—“cabined or otherwise”—against
          immunity-asserting defendants before it has determined plaintiffs have pleaded
          facts sufficient to overcome the defense.

Id. at 1067. But unlike in Carswell or Iqbal, Defendants here did not assert qualified

immunity in a motion to dismiss. Critically, they have only raised the defense by moving

for summary judgment—and improperly arguing they are entitled to qualified immunity

based on disputed facts. (Dkt. #22, Pl.’s Opp’n to Mot. for Summ. J. 11–14; Dkt. #25,

Pl.’s Sur-Reply in Opp’n to Mot. for Summ. J. 1–3). Thus, while “Carswell conclusively

establishes that all discovery must be stayed pending resolution of a qualified immunity

defense raised in a motion dismiss, [it] does not end the inquiry here where the defense is

asserted via summary judgment so that evidence outside the original pleadings may be




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considered.” Cobbins v. Graham, No. 3:21-cv-155, 2022 WL 2663852, at *2 (M.D. La.

July 11, 2022).2

        This is especially true in this case where Jones has, in the alternative, requested

discovery under Rule 56(d). (Dkt. #22, Pl.’s Opp’n to Mot. for Summ. J. 16). Jones has

stated a plausible claim for relief and alleged well-pleaded facts, but she has not had the

opportunity to collect evidence to prove her well-founded, specific allegation that her

union affiliation and speech on matters of public concern motivated Individual

Defendants’ decision to terminate her. Moreover, Defendants’ assertion in their

Supplement that the issues here all turn on “a pure question of law” is simply incorrect.

Rarely does a Monell claim ever turn on a pure question of law, and this Court cannot

fairly rule on factual disputes over policy and custom without discovery.

        Second, this case is distinguishable from Carswell because Jones is also suing the

Defendants in their official capacities for prospective injunctive relief. Therefore, even if

Individual Defendants were entitled to qualified immunity, Jones would proceed with her

official-capacity claims. By contrast, the plaintiff in Carswell, the mother of a pretrial detainee

who died in custody, sued defendants in their individual capacities and the municipal entity

seeking only compensatory damages. See First Am. Compl., Carswell v. Camp, 3:20-cv-2935,

¶ 162 (N.D. Tex. Dec. 7, 2020).3 Jones’s claims for prospective injunctive relief against Collin

College and the official-capacity defendants are not subject to qualified immunity, and,

therefore, should not impact Jones’s ability to proceed with discovery from those parties now.



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      Although the Cobbins court ultimately stayed discovery because the evidence to support or oppose
the motion for summary judgment was a single video, it emphasized that “this is not to say that every case
in which a defendant elects to assert qualified immunity through a summary judgment motion which
requests consideration of evidence outside the pleadings should warrant a stay of discovery.” Id. at *3.
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      For the court’s convenience, a copy of the Carswell complaint, is attached as Exhibit A.


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       At the very least, there is no reason to delay written discovery against the College and

official-capacity Defendants because Jones’s written discovery requests must be answered

regardless of qualified immunity and do not create any significantly different burdens (such as

dual-capacity depositions) for the individual-capacity Defendants. In contrast to the plaintiff in

Carswell who sought to “depose all eight of the individual defendants asserting qualified

immunity,” Jones seeks to first propound written discovery concerning the College’s

unconstitutional customs and policies and the official-capacity defendants’ use of those customs

and policies to justify their unlawful decision to terminate Jones. Carswell, 37 F.4th at 1065.

       Finally, the panel opinion in Carswell is subject to rehearing. See Appellee’s Pet. for

Reh’g En Banc, Carswell v. Camp, 37 F.4th 1062 (July 15, 2022) (No. 21-10171). Notably, the

Carswell panel’s approach is at odds with other courts outside of the Fifth Circuit that have

recognized that it is proper to allow some discovery to continue when a case involving qualified

immunity has both claims for monetary damages and prospective injunctive relief or Monell

claims. See Lugo v. Alvarado, 819 F.2d 5, 6 (1st Cir. 1987) (denying a motion to stay discovery

where equitable claims were brought alongside monetary claims because “sooner or later the

parties will have the right to engage in discovery as to the equitable claims, irrespective of

whether there is a surviving damage action.”); Daniels v. City of Sioux City, 294 F.R.D. 509, 512

(N.D. Iowa 2013) (denying a motion to stay discovery on Monell claims because of “the

incongruity of depriving a litigant to access to information that is relevant to the merits of a

constitutional claim”); Burgess v. Baltimore Police Dep’t, No. CV RDB-15-0834, 2016 WL

1159200, at *2 (D. Md. Mar. 23, 2016) (“[I]n the context of Section 1983 claims, bifurcation of

the Monell supervisory claims from the individual claims is appropriate and often desirable.”);

Lawrence v. City of Boulder, No 21-cv-00761, 2021 WL 5810715 at *3 (D. Colo. Dec. 7, 2021)




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(“the interest of plaintiff to proceed expeditiously outweighs any burden on Defendants of

having to participate in discovery while their summary judgment motion is pending.”). While

some courts instead stay discovery on the Monell issues until the entire liability of the individual

defendants are resolved, even these cases allow some discovery as the case proceeds to summary

judgment. See Feibush v. Johnson, 280 F. Supp. 3d 663, 665 (E.D. Pa. 2017) (“a blanket stay

against all defendants will merely delay discovery and potentially prejudice Plaintiff”); Oliver v.

City of New York, 540 F. Supp. 3d 434, 436 (S.D.N.Y. 2021); Carr v. City of N. Chicago, 908 F.

Supp. 2d 926 (N.D. Ill. 2012); Reyna v. Cnty. of Los Angeles, No. CV 19-2629, 2019 WL

6357251 (C.D. Cal. Sept. 23, 2019). As these courts have reasoned, allowing limited discovery

against a municipal entity would not be unduly burdensome and may alleviate the judicial

inefficiency associated with an outright stay on discovery.

       Because Jones will inevitably be entitled to at least some discovery from Collin College

and the official-capacity defendants, the only question remaining for this Court is under what

timeline will Jones receive that discovery. Staying all discovery while a pre-discovery summary

judgment motion remains pending only burdens the judicial system and frustrates Jones’s ability

to timely obtain the relief she seeks because it forces the case to remain on the docket with no

date for a jury trial. If this Court does intend to stay discovery, it must issue a ruling promptly. In

the interim, Jones continues to suffer ongoing irreparable harm to her core First Amendment

rights and her livelihood because she continues to be out of a job she loved.

       In conclusion, Jones respectfully requests that this Court deny the Individual Defendants’

Motion to Stay and/or Limit Discovery and permit discovery against Defendants Collin College

and Matkin and Jenkins in their official capacities.




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Respectfully Submitted,

/s/ Greg H. Greubel                        /s/ Robert W. Schmidt
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Date: July 26, 2022




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                                 CERTIFICATE OF SERVICE

       Plaintiff’s counsel confirms that a true and correct copy of the foregoing was served via

the Court’s electronic filing system on this day, July 26, 2022. Notice of this filing will be sent

by operation of the Court’s electronic filing system to the parties indicated below and parties

who may access this filing through the Court’s electronic filing system.

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Date: July 26, 2022                                           /s/ Greg Harold Greubel
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